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 1                                                                          FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON

 2
                                                                   Mar 10, 2022
 3                                                                     SEAN F. MCAVOY, CLERK




 4

 5                        UNITED STATES DISTRICT COURT

 6                      EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                      No. 4:21-CR-06028-MKD-2

 8                       Plaintiff,                 ORDER FOLLOWING
                                                    ARRAIGNMENT ON SECOND
 9   vs.                                            SUPERSEDING INDICTMENT

10   OSCAR CHAVEZ-GARCIA,

11                       Defendant.

12         On Thursday, March 10, 2022, Defendant was arraigned on the Second

13   Superseding Indictment (ECF No. 124). With Defendant’s consent, Defendant

14   appeared by video from the Spokane County Jail. Defendant was represented by

15   retained counsel, Roger Peven. Assistant United States Attorney Todd Swensen

16   represented the United States.

17         Defendant was advised of and acknowledged Defendant’s rights.

18         Defendant pled not guilty.

19         The Court addressed detention in a previous order (ECF No. 101).

20         Defendant is bound over to Judge Mary K. Dimke for further proceedings.


     ORDER FOLLOWING ARRAIGNMENT ON SECOND SUPERSEDING
     INDICTMENT - 1
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 1         The Court directs the parties to review the Local Criminal Rules governing

 2   discovery and other issues in this case. http://www.waed.uscourts.gov/court-

 3   info/local-rules-and-orders/general-orders.

 4         Under federal law, including Rule 5(f) of the Federal Rules of Criminal

 5   Procedure, Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions

 6   from the Supreme Court and the Ninth Circuit interpreting Brady, the United States

 7   has a continuing obligation to produce all information or evidence known to the

 8   United States relating to guilt or punishment that might reasonably be considered

 9   favorable to Defendant's case, even if the evidence is not admissible so long as it is

10   reasonably likely to lead to admissible evidence. See United States v. Price, 566

11   F.3d 900, 913 n.14 (9th Cir. 2009). Accordingly, the Court orders the United

12   States to produce to Defendant in a timely manner all such information or

13   evidence.

14         Information or evidence may be favorable to a defendant's case if it either

15   may help bolster the defendant's case or impeach a prosecutor's witness or other

16   government evidence. If doubt exists, it should be resolved in favor of Defendant

17   with full disclosure being made.

18         If the United States believes that a required disclosure would compromise

19   witness safety, victim rights, national security, a sensitive law-enforcement

20   technique, or any other substantial government interest, the United States may


     ORDER FOLLOWING ARRAIGNMENT ON SECOND SUPERSEDING
     INDICTMENT - 2
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 1   apply to the Court for a modification of the requirements of this Disclosure Order,

 2   which may include in camera review and/or withholding or subjecting to a

 3   protective order all or part of the information.

 4         This Disclosure Order is entered under Rule 5(f) and does not relieve any

 5   party in this matter of any other discovery obligation. The consequences for

 6   violating either this Disclosure Order or the United States’ obligations under Brady

 7   include, but are not limited to, the following: contempt, sanction, referral to a

 8   disciplinary authority, adverse jury instruction, exclusion of evidence, and

 9   dismissal of charges. Nothing in this Disclosure Order enlarges or diminishes the

10   United States’ obligation to disclose information and evidence to a defendant under

11   Brady, as interpreted and applied under Supreme Court and Ninth Circuit

12   precedent. As the Supreme Court noted, “the government violates the

13   Constitution's Due Process Clause ‘if it withholds evidence that is favorable to the

14   defense and material to the defendant’s guilt or punishment.’” Turner v. United

15   States, 137 S. Ct. 1885, 1888 (2017) (quoting Smith v. Cain, 565 U.S. 73, 75

16   (2012)).

17         DATED March 10, 2022.

18                                s/James P. Hutton
                                 JAMES P. HUTTON
19                       UNITED STATES MAGISTRATE JUDGE

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     ORDER FOLLOWING ARRAIGNMENT ON SECOND SUPERSEDING
     INDICTMENT - 3
